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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 LEJILEX; CRYPTO FREEDOM                          §
 ALLIANCE OF TEXAS,                               §
                                                  §
        Plaintiffs,                               §
                                                  §        Civil Action No. 4:24-cv-00168-O
 v.                                               §
                                                  §
 SECURITIES AND EXCHANGE                          §
 COMMISSION; ERIC R. WERNER;                      §
 GARY GENSLER; CAROLINE A.                        §
 CRENSHAW; JAIME E. LIZARRAGA;                    §
 HESTER M. PEIRCE; and MARK T.                    §
 UYEDA, in their official capacities,             §
                                                  §
        Defendants.                               §


                                             ORDER
       Before the Court is Defendants’ Status Report (ECF No. 85), filed July 10, 2025. The

Status Report informs the Court that “the parties are in agreement that this Court should continue

to hold the pending dispositive motions in abeyance until September 8, 2025” in light of the

Securities and Exchange Commission’s ongoing review of crypto-related issues. ECF No. 85 at 2.

Upon reviewing the Status Report, it is hereby ORDERED that the pending dispositive motions

(ECF Nos. 31, 34, 37) shall be held in abeyance until September 8, 2025. Further, Defendants

SHALL file a status report on or before September 8, 2025, advising this Court of any relevant

developments and proposing a schedule for future proceedings if necessary. This case remains

closed pending the filing of the Status Report.

       SO ORDERED on this 10th day of July, 2025.



                                                      _____________________________________
                                                      Reed O’Connor
                                                      UNITED STATES DISTRICT JUDGE
